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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


 PRESS ROBINSON, et al.,

                       Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                       Defendant.
                                                 CIVIL ACTION
                                                 NO. 3:22-CV-00211-SDD-SDJ
 consolidated with
                                                 consolidated with
                                                 NO. 3:22-CV-00214-SDD-SDJ
 EDWARD GALMON, SR., et al.,

 Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                       Defendant.



 DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                      RECONSIDERATION

        Defendant Secretary Nancy Landry, by and through the undersigned counsel submits this

brief in opposition to Galmon Plaintiffs (“Plaintiffs”) Motion for Reconsideration (the “Motion).

                                     RELEVANT FACTS

        In March of 2022 both Galmon and Robinson Plaintiffs brought suit against the Louisiana

Secretary of State alleging that House Bill 1 (“H.B. 1”), which established Louisiana’s

congressional districts after the 2020 census, violated Section 2 of the Voting Rights Act (“VRA”)

because the plan did not have two majority-Black districts. Following consolidation and
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intervention by Louisiana’s legislative leaders and the State, this Court issued a preliminary and

permanent injunction enjoining Louisiana from using H.B. 1 in any election. This order was

ultimately stayed by the Supreme Court of the United States pending the decision in Allen v.

Milligan. Ardoin v. Robinson, 142 S. Ct. 2892 (2022). After Allen, the Fifth Circuit vacated the

preliminary injunction and remanded this case for further proceedings. Robinson v. Ardoin, 86 F.

4th 547, 601 (5th Cir. 2023). Specifically, the Fifth Circuit instructed this Court to give the

Legislature a fulsome opportunity to adopt a new congressional districting plan, and, if the

legislature failed, to conduct a merits trial, and only if necessary to adopt a different districting

plan for the 2024 elections. Id. at 601-02. This Court followed the Fifth Circuit’s instructions,

giving the Legislature time to adopt a new plan, and setting a trial for February 5, 2024, at the

request of Plaintiffs. [Rec. Docs. 315, 371]. On January 22, 2024 the Legislature enacted Senate

Bill 8 (“S.B. 8”), which re-drew Louisiana’s congressional districts to include two majority-Black

districts. [Rec. Doc. 342]. Defendants subsequently moved to dismiss this case as moot. [Rec. Doc.

352]. Robinson and Galmon Plaintiffs lodged no objection to S.B. 8, but argued the case was not

moot. [Rec. Docs. 346-47, 257-58]. The Court granted the Motion to Dismiss, finding this case

moot, on April 25, 2024. [Rec. Doc. 371].

       In the interim, a separate group of plaintiffs challenged S.B. 8 claiming that it was an

impermissible racial gerrymander in violation of the Equal Protection Clause of the 14th

Amendment, and that S.B. 8 intentionally discriminated against voters based on race in violation

of the 15th Amendment. Callais v. Landry, ---F. Supp.3d---, 2024 WL 1903930, at *8 (W.D. La.

Apr. 30, 2024). Plaintiffs in that case also sought injunctive and declaratory relief. Id. Callais

proceeded in front of a three-judge panel in the Western District of Louisiana. Id. Secretary Landry

was named as the only defendant, but shortly after the case was filed the State of Louisiana,



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through the Louisiana Attorney General, successfully intervened, as did the Robinson Plaintiffs.

Id. at *6-7. The panel issued an expedited schedule and held a combined preliminary injunction

hearing and merits trial April 8-10, 2024. Id. at *7. On April 30, 2024, the Callais court held that

S.B. 8 violated the Equal Protection Clause and enjoined its use. Id. at *24. The court scheduled a

status conference to discuss remedial actions for 10:30 A.M. CST on Monday, May 6, 2024. Id.

On May 1, 2024, Robinson Plaintiffs filed a notice of appeal to the Supreme Court of the United

States. Callais v. Landry, No. 3:24-CV-00122-DCJ-CES-RRS, at Rec. Doc. 200 (W.D. La.).

Robinson Plaintiffs also filed an emergency motion to stay in the district court. Id. at Rec. Doc.

201. The same day, Galmon Plaintiffs filed the instant Motion. [Rec. Doc. 372]. On May 3, 2024,

Galmon Plaintiffs’ motion to intervene was granted as to the remedial phase of the Callais

litigation. Callais v. Landry, No. 3:24-CV-00122-DCJ-CES-RRS, at Rec. Doc. 205 (W.D. La.). At

the May 6, 2024 status conference in Callais, the Court did not implement H.B. 1 for the 2024

elections. Both Robinson and Galmon Plaintiffs agreed with the State’s position that S.B. 8 should

remain in place for the 2024 elections.

                                          INTRODUCTION

        Plaintiffs’ point to no error of law or fact warranting reconsideration of this Court’s Order

dismissing this case. Nor can they. Under well settled case law, this action is moot. In an attempt

to sidestep binding precedent, Plaintiffs craft a misleading version of the facts, in attempt to invite

the Court to create chaos and waste for the people of Louisiana. The Court should decline that

invitation.




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                                           ARGUMENT

   I.      This Case is Moot.

        The Court’s order dismissing this case as moot should stand. The Court has already

correctly concluded, under binding precedent, that “formally announced changes to official

government policy are not mere litigation posturing.” [Rec. Doc. 371 p. 5]. S.B. 8 was not merely

an announced change, but an official act of Louisiana’s Legislature repealing the statute Plaintiffs

challenged in this action, that was subsequently signed into law by the Governor. When the

Legislature repealed H.B. 1, this Court gave Plaintiffs every opportunity to object to S.B. 8 and

continue this litigation. But Plaintiffs raised no challenge to S.B. 8. Thus, as this Court already

concluded, Plaintiffs’ action challenging H.B. 1 is moot and Plaintiffs do not have a current injury-

in-fact. In reaching this conclusion, the Court issued a comprehensive opinion that addressed all

of Plaintiffs’ arguments opposing dismissal.

        Moreover, the dismissal follows a long line of decisions holding that altering or repealing

a challenged statute moots the underlying litigation. As the Fifth Circuit has repeatedly recognized,

“[o]nce a law is off the books, there is nothing injuring the plaintiff and, consequently, nothing for

the court to do.” Spell v. Edwards, 962 F.3d 175, 179 (5th Cir. 2020) (citing N.Y. State Rifle &

Pistol Ass'n, Inc. v. City of New York, ––– U.S. ––––, 140 S. Ct. 1525, 1526, 206 L.Ed.2d 798

(2020)). Simply put, when a challenged statute is repealed or amended, “mootness is the default.”

See Freedom From Religion Found., Inc. v. Abbott, 58 F.4th 824, 832 (5th Cir. 2023) (collecting

cases). This principle is repeatedly reaffirmed by the Fifth Circuit. See, e.g. AT&T Commc'ns of

the Sw., Inc. v. City of Austin, 235 F.3d 241, 244 (5th Cir. 2000) (holding that a party could not

challenge rights under an enactment that had since been repealed); McCorvey v. Hill, 385 F.3d 846,

849 (5th Cir. 2004) (“Suits regarding the constitutionality of statutes become moot once the statute



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is repealed.”); Houston Chronicle Publishing Co. v. League City, 488 F.3d 613, 619 (5th Cir. 2007)

(“It goes without saying that disputes concerning repealed legislation are generally moot.”).

        Furthermore, as this Court has already recognized, “the government’s ability to

‘reimplement the statute or regulation at issue is insufficient to prove the voluntary-cessation

exception’” to mootness. Rec. Doc. 371 (citing Freedom From Religion Found., Inc., 58 F.4th at

833)). See also Fantasy Ranch Inc. v. City of Arlington, Tex., 459 F.3d 546, 564 (5th Cir. 2006)

(“[S]tatutory changes that discontinue a challenged practice are ‘usually enough to render a case

moot, even if the legislature possesses the power to reenact the statute after the lawsuit is

dismissed.’”) (citations omitted). But the factual scenario here does not even reach that level.

Instead, Plaintiffs ask this Court to reverse its own well-reasoned opinion, not because after

dismissal the Legislature tried to pass legislation reinstating H.B. 1, but because of another court’s

order enjoining S.B. 8. Tellingly, Plaintiffs cite to no case in support of their proposition that

another Court’s action can somehow revive their claims in this case. Instead, Plaintiffs ask the

Court to assume without any evidence, that because of the injunction in Callais: (1) a different

map will be used for the 2024 election 1; (2) a different map will not have two majority-black

districts; and (3) a map ordered by the majority of a three-judge panel will somehow be

constitutionally or statutorily infirm. These are exceptional factual leaps, especially considering

the fact that the Callais court did not implement H.B. 1 at today’s status conference. Such factual

leaps are not ripe. New Orleans Public Service, Inc. v. Council of City of New Orleans, 833 F.2d

583, 587 (5th Cir. 1987) (citing Thomas v. Union Carbide Agricultural Products Co., 473 U.S.




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 In fact, there is every indication that the Callais injunction is not the final word on the matter. Robinson
Plaintiffs have already appealed the injunction to the Supreme Court of the United States, and did so hours
before Plaintiffs filed this motion for reconsideration. Robinson Plaintiffs also subsequently filed an
emergency motion for a stay of the panel’s injunction on the evening of May 1, 2024.

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568, 581 (1985)). (“[A] case is not ripe if further factual development is required.”). Thus, this

case remains moot.

   II.      Plaintiffs’ Factual Recitation is Wrong.

         In support of these factual leaps, Plaintiffs present a misleading recitation of the facts.

Plaintiffs accuse the State of shirking its constitutional duty of defending S.B. 8. Plaintiffs fail to

provide a shred of credible evidence in support of any of their accusations. Because they have no

credible evidence, Plaintiffs pick and choose portions of the Callais trial transcripts that paint an

incomplete picture. Plaintiffs’ claim that the State only offered 10 minutes of video clips in defense

of S.B. 8. Missing from their facts, however, is that counsel for the State also cross-examined

several witnesses regarding the intent behind S.B. 8. Callais, 2024 WL 1903930 at *8, *17. All of

these actions, combined with the State’s post-trial briefing, Callais, No. 3:24-CV-00122-DCJ-

CES-RRS at Rec. Docs. 192, 194, which the Secretary generally agreed with, id. at Rec. Doc. 193,

support the fact that the State rigorously defended S.B. 8. See Hunt v. Cromartie, 526 U.S. 541,

547 n.3 (1999); Cooper v. Harris, 581 U.S. 285, 308 (2017).

         Moreover, Plaintiffs’ criticisms as to the time spent in trial on these defenses is especially

ill-conceived. The Callais trial was timed. Those challenging S.B. 8 (Callais Plaintiffs) received

equal time with the three groups defending it (the State, the Secretary, and Robinson Plaintiffs). In

fact, because the Secretary and the State were willing to cede some of their time to the Robinson

Plaintiffs, they were able to offer up numerous witnesses, including several who testified in this

matter, like expert Anthony Fairfax.

         Finally, Plaintiffs are wrong that they are “locked out” of the Callais proceedings. While it

is true Plaintiffs were denied intervention in the trial phase of Callais because the court found the

Galmon Plaintiffs’ interests could be represented by Robinson Plaintiffs, the Galmon Plaintiffs



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were allowed to submit an amicus brief for the trial on the merits. Furthermore, Galmon Plaintiffs’

motion to intervene was granted as to the remedial phase. Callais v. Landry, No. 3:24-CV-00122-

DCJ-CES-RRS, at Rec. Doc. 205 (W.D. La.). Galmon Plaintiffs even participated in the remedial

hearing set by the Callais court on Monday May 6, 2024. Galmon Plaintiffs have also appealed

the denial of their intervention as to the trial proceedings, and the appellate courts, not this one,

are the proper place to adjudicate claims of district court error. 2

    III.      Plaintiffs’ Requested Relief Would Harm Louisianans.

           Not content with asking this Court to reverse a correct ruling, Plaintiffs also ask the Court

to become an agent of chaos. Plaintiffs demand that the parties and this Court pick up months-old

evidence regarding a repealed statute, and rush to litigate a remedy all while the Callais panel

considers remedial options. This is as chaotic as it is wasteful. First, it would be highly unusual to

conduct a remedial phase hearing on a repealed statute. This is because there can be no live case

or controversy over a repealed statute, and because doing so would be a waste of the Court’s

judicial resources and the resources of the taxpayers of Louisiana. Unsurprisingly, Plaintiffs cannot

direct the Court or the parties to any case where such a process was conducted.

           Second, Plaintiffs ask the Court to conduct these proceedings simultaneously with any

remedial proceedings in Callais. In doing so, Plaintiffs again misconstrue the posture of this matter.

This Court was poised to conduct a trial on the merits, consistent with instructions from the Fifth

Circuit, not a remedial phase. Again, Plaintiffs cite to no authority for two district courts


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  The Callais court has subject matter jurisdiction pursuant to 28 U.S.C. §2284(a) to determine the
constitutionality of S.B. 8. The Callais injunction is directly appealable to the United States Supreme Court.
See 28 U.S.C. §1253. This Court simply does not have jurisdiction to review the three-judge panel’s
injunction in Callais, and Galmon Plaintiffs’ request for this Court to do so is an attempt to circumvent
Congress’s discretion to statutorily establish lower federal court jurisdiction under Article III, §1 of the
United States Constitution. See Sheldon v. Sill, 49 U.S. 441, 448-49 (1850) (discussing Congress’s power
to regulate lower court jurisdiction by statute). This Court should decline that invitation that could result
in constitutional chaos.
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conducting remedial proceedings at the exact same time, that could issue competing orders to state

officials. That is likely because such a request is fraught with risk and potential harm to the people

of Louisiana. Apart from the waste of resources, the Secretary could be faced with the real

possibility of competing court orders, each instructing her to implement a different map for the

2024 congressional election. This is an untenable position for the Secretary to be in. This would

cause untold confusion to the voters, and potentially prevent the Secretary from administering the

election by the deadlines set by State and Federal law. The people of Louisiana deserve better than

the chaos Plaintiffs invite.

                                          CONCLUSION

        The Court should deny Plaintiffs’ motion for reconsideration.

        Respectfully submitted, this the 6th day of May, 2024.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 6th day of May, 2024, the foregoing document was filed via

the Court’s CM/ECF system which sent notice of the same to all counsel of record in this matter.

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